                     Case 1:24-cr-00233-RC                 Document 1        Filed 05/02/24         Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                      Christina Kelso
                                                                    )
                      DOB: XXXXXX                                   )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                                   in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder.


         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u Continued on the attached sheet.




                                                                                               Printed name and title
$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH                                                                                              Zia M. Faruqui
                                                                                                           2024.05.02
Date:             05/02/2024
                                                                                                           11:07:02 -04'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ '&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
